      Case 6:20-cv-01059-DDC-KGG Document 141 Filed 07/10/23 Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

ZONE FIVE, LLC, ET AL.,                )
                                       )
                Plaintiffs,            )      CIVIL ACTION
                                       )      CASE NO. 6:20-CV-01059-DDC-KGG
v.                                     )
                                       )      District Judge Daniel D. Crabtree
TEXTRON AVIATION, INC.,                )      Magistrate Judge Kenneth G. Gale
                                       )
                Defendant.             )


                          NOTICE OF VIDEOTAPED DEPOSITION
     OF DEFENDANT TEXTRON AVIATION, INC.’s EMPLOYEE BRIAN STEELE

     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

     PLEASE TAKE NOTICE that pursuant to Rule 30 of the Federal Rules of Civil Procedure, on
     July 27, 2023, commencing at 9:00 AM Central, and continuing each business day thereafter
     until completed, Plaintiffs, through their counsel, will take the videotaped, trial testimony,
     deposition(s) of Defendant Textron Aviation Inc.’s officer, director or managing agent BRIAN
     STEELE.

     The deposition(s) will be facilitated by Veritext Legal Solutions, 435 Nichols Road, Suite 200,
Kansas City, Missouri 64112, 888-391-3376, or other similar service by remote videoconferencing
means, with a link to be provided prior to the deposition.

     The deposition(s) will be taken before a certified shorthand reporter who is qualified to
administer oaths in the State of Kansas. If the deposition(s) are not completed on the above date,
they will be continued from day-to-day until completed.

     The deposition(s) may be recorded stenographically, by audiotape, videotape and/or through
the instant visual display of testimony. Plaintiffs reserve the right to use any audiotaped or
videotaped portion of the deposition(s) testimony at a hearing or trial on this matter.




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Dated July 7, 2023.                Respectfully Submitted,


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                                CERTIFICATE OF SERVICE


      I hereby certify that on July 7, 2023, I served the foregoing via electronic mail upon All
Counsel of Record.
Dated: July 7, 2023.
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